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                        Exhibit 1
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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLORADO

 Civil Action No. 1:21-cv-2994-REB

 SAN LUIS VALLEY ECOSYSTEM COUNCIL, SAN JUAN CITIZENS ALLIANCE,
 THE WILDERNESS SOCIETY, and WILDEARTH GUARDIANS,

 Petitioners,


 vs.

 DAN DALLAS, Forest Supervisor for the Rio Grande National
 Forest; and UNITED STATES FOREST SERVICE,

 Respondents.


                               DECLARATION OF JUDITH PEREZ



 I, Judith A. Perez, pursuant to 28 U.S.C. § 1746, declare the following:

       1. I am employed by the United States Department of Agriculture, Forest

          Service, as the Forest Planner for the Rio Grande National Forest, located at

          the Supervisor’s Office in Monte Vista, Colorado.

       2. As part of my assigned duties, I coordinated the compilation of the

          Administrative Record responsive to the allegations contained in the petition

          filed in the above-captioned case. Through conferral with petitioners, we

          agreed to a Revised Administrative Record.

       3. Attached to this declaration is the index for the Forest Service’s Revised

          Administrative Record regarding the May 11, 2020, Record of Decision for

          the Revised Rio Grande National Forest Land Management Plan. All records

          identified in the attached index, and provided to the Court and parties,

          constitute a true and correct copy of the relevant records as retained in the

                                               1
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       Forest Service files.

    4. Three documents, with bates range 00024340-00024425, contain sensitive

       information regarding the known locations of Uncompahgre Fritillary Butterfly

       populations. The sensitive location data has been redacted.

    5. In addition, an email received by the Forest Service in redacted form is

       included in the record at bates range 00024428-00024430.

    6. The Revised Administrative Record for this case is in Adobe Acrobat (PDF)

       format to the extent practical. The Revised Administrative Record contains

       231 documents bearing bates numbers Rvsd Plan - 00000001 to Rvsd Plan -

       00025326.

    7. The Revised Administrative Record and Index have been shared with the

       parties electronically.



       I declare under penalty of perjury that the foregoing is a true and complete

 statement.



       Dated this 21st day of June 2022 in Monte Vista, Colorado.




                                                                        Digitally signed by Judith A.
                                                                        Perez
                                                      Judith A. Perez   Date: 2022.06.21 13:18:59
                                                                        -06'00'
                                                      ______________________________
                                                      Judith Perez
                                                      Forest Planner
                                                      USDA Forest Service
                                                      Rio Grande National Forest



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